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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION at LEXINGTON



UNITED STATES OF AMERICA,                )
                                         )
         Plaintiff,                      )
                                         )                Criminal Case No.
v.                                       )                   12-cr-65-JMH
                                         )
NICHOLAS COREY GARNER,                   )             MEMORANDUM OPINION
                                         )
         Defendant.                      )

                                         ***

        At    the    sentencing     hearing       in   this      matter    on     Monday,

February 2, 2015, this Court heard argument from counsel and

defendant, proceeding pro se, as well as the testimony of United

States Secret Service Special Agent Allen Lowe, with respect to

several       enhancements         available       under      the     United      States

Sentencing          Guidelines.        For       the      most      part    and     after

consideration, the Court adopted the conclusions urged by the

argument of counsel for the United States and the Presentence

Report       prepared   by   the    United       States    Probation       Office   with

respect to the applicable specific offense characteristics and

adjustments.1




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  The Court had already reached and announced its rationale and
conclusion with respect to the calculation of the amount of loss
attributable to Defendant Garner and the enhancement applied
based on that calculation.
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       Several     of       the     specific       offense           characteristics            and

adjustments proposed in the Presentence Report were contested by

Defendant,      and     the      Court    enters        this    Memorandum          Opinion     to

memorialize       the      basis    and     reasoning          for     its    decision         with

respect to the specific offense characteristic related to number

of    victims     and      the    adjustment       for    defendant’s           role      in    the

offense, in addition to what was announced on the record at the

hearing     with      respect       to    these     and        other      specific        offense

characteristics and enhancements.

                                                   I.

       At   the    hearing,         Agent      Lowe      testified           that    he     spoke

personally to more than 250 victims on the telephone, a number

which included both those individuals who spoke to and reported

to him that they had been victimized and suffered loss as a

result of the conspiracy at bar in this matter when he first

telephoned them and those individuals who called him back and

reported to him that they had been victimized and suffered loss

as a result of the conspiracy at bar in response to a message

that he left for them concerning this matter.                                The Court finds

and    concludes        that      this    is   sufficient            to   establish        by     a

preponderance         of    the     evidence       that        the     offense       of     which

Defendant Garner stands convicted involved 250 or more victims,

yielding a 6 level increase to the base offense level under

U.S.S.G. 2B1.1(b)(2)(C).

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                                                  II.

       With respect to the adjustment made for Defendant Garner’s

role in the offense under U.S.S.G. §3B1.1(a), a preponderance of

the    evidence    supports       the    conclusion      that      Defendant     Nicholas

Corey Garner was an organizer or leader of a criminal activity

that    involved        five     or   more     participants        or    was    otherwise

extensive.         To    justify       the    imposition      of    a    leadership      or

organizer enhancement under U.S.S.G. § 3B1.1(a), the government

must show by a preponderance of the evidence that a defendant

“was an organizer or leader of a criminal activity that involved

five or more participants.” See United States v. Washington, 715

F.3d 975, 983 (6th Cir. 2013). Based on Agent Lowe’s testimony,

the    Court   concludes       that,     while      Garner    received      instructions

from “Rob”, Garner had his own “team” which included more than

five members.       A conclusion on the number of participants can be

reached by simply counting the eight U.S. based co-conspirators

named in this matter who worked together under the guidance of

Nicholas Corey Garner (Sabrina Carmichael, Eli Holley, Brooks

Sowell, Jelahni Williams, April Abrams, Dwayne Hardy, Nathaniel

Garner, and Harold Smith).                   Additionally, the Court considers

the    notations    in     the    ledger      which     was   seized     from    Garner’s

possession at the time of his arrest on September 15, 2012, near

Indianapolis, Indiana.                Those notations indicate which “team”

member conducted each transaction, transactions which have been

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confirmed by means of a subpoena of records from Western Union

and MoneyGram.        The number of distinct notations also supports

the conclusion, based on a preponderance of evidence, that more

than    five    “team”       members     were       involved    in        effecting       the

transactions listed in the book.

       In determining Nicholas Corey Garner’s role as a leader or

organizer, the Court considers that, “[i]n general, ‘a defendant

must have exerted control over at least one individual within a

criminal      organization     for     the       enhancement    of    §    3B1.1     to    be

warranted.’”        United States v. Vandeberg, 201 F.3d 805, 811 (6th

Cir. 2000) (quoting United States v. Gort-Didonato, 109 F.3d

318, 321 (6th Cir. 1997)); see also United States v. Walls, 546

F.3d 728, 735 (6th Cir. 2008); United States v. Lalonde, 509

F.3d 750, 765 (6th Cir. 2007); United States v. Swanberg, 370

F.3d   622,    629    (6th    Cir.     2004).      “Control”    derives       from      “the

exercise       of    decision        making        authority,        the     nature       of

participation in the commission of the offense, the recruitment

of   accomplices,      the    claimed     right      to   a   larger       share   of     the

fruits of the crime, the degree of participation in planning or

organizing the offense, the nature and scope of the illegal

activity, and the degree of control and authority exercised over

others.”       U.S.S.G. § 3B1.1 comment. (n.4). Thus, many of these

factors emphasize control over others in the criminal activity.



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        Agent    Lowe     testified         that    Garner        sought     and      received

instructions from an individual known as “Rob” during the course

of the conspiracy.              During the hearing on February 2, 2015,

Garner described “Rob” as “the man,” with respect to his role in

the   conspiracy        from    Garner’s       perspective.           Rob’s        relatively

higher    level     role      in     providing      direction       to     Nicholas       Corey

Garner and others does not change the fact that, according to

Agent     Lowe’s    testimony,          Nicholas      Corey        Garner        sought     and

accepted    opportunities            from    Rob    for     his    “team”        to   complete

transactions via email and other means; that he received and in

turn transmitted information about jobs to his “team” of U.S.-

based    co-conspirators;            that    he    exercised       some     discretion      in

selecting       where   the     transactions        would     occur,       within      certain

geographic       boundaries;         that    he    identified       and     solicited      his

“team” members in order to complete the jobs assigned to his

“team”;     and    that        his    “team”       earned     money        for     completing

transactions, a percentage of which (five percent) was then paid

to him for the work of the “team” members that he led.

        The Court so finds and concludes that the United States has

demonstrated, by a preponderance of the evidence, that Defendant

Nicholas Corey Garner exercised decision making authority, was a

conduit of information concerning the next steps in the criminal

activity    for     his    “team”      members,       recruited       accomplices,         and

claimed a right to a larger share of the fruits of the crime

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when compared to the other U.S.-based co-conspirators named as

defendants in this matter.            While his degree of participation in

planning   or   organizing      the    offense    was   not    at     the   level    of

“Rob,” his degree of participation in planning and organizing

the specifics of the receipt and transfer of the proceeds of the

offense – once that job was assigned to Garner’s group - was

substantial. Further, the evidence reveals that his role was on-

going across the course of the time-frame of the conspiracy.

The Court recalls Agent Lowe’s testimony from the loss hearing

concerning times when other co-conspirators, including Sabrina

Carmichael      and   Brooks     Sowell,      filled     his    leadership          and

organizational        role     while     he      was    unavailable          due     to

incarceration, but that the leadership role returned to Nicholas

Corey Garner each time, once he was again available for it.

     This the 4th day of February, 2015.




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